Case: 2:23-cv-02896-SDM-CMV Doc #: 48 Filed: 01/13/25 Page: 1 of 2 PAGEID #: 689




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

CARLO M. CROCE                                         Case No. 2:23-cv-02896

                   Plaintiff,                          Judge Sarah D. Morrison
                                                       Magistrate Judge Chelsey M. Vascura
vs.

SOTHEBY’S FINANCIAL SERVICES, INC.,                    NOTICE OF DEPOSITION OF
et al.                                                 PLAINTIFF CARLO M. CROCE

                   Defendants.


            Now come Defendants Sotheby’s Inc. (“Sotheby’s”) and Sotheby’s Financial Services Inc.

(“SFS”) (collectively, “Defendants”), by and through the undersigned counsel, pursuant to Fed. R.

Civ. P. 30, and hereby give notice that they will take the deposition of Plaintiff Carlo M. Croce on

January 31, 2025 at 9:00 a.m. at 1700 Lake Shore Drive, Suite 300, Columbus, Ohio 43204. The

deposition will be recorded by stenographic means and may be recorded by video, and will continue

from day-to-day until completed. The deposition will be used for all purposes permitted under the

Federal Rules of Evidence and the Federal Rules of Civil Procedure.



Respectfully submitted,

/s/ Zachary C. Schaengold
Jarrod M. Mohler (0072519)                             Paul Cossu (pro hac vice)
Zachary C. Schaengold (0090953)                        Rachel M. Kaplowitz (pro hac vice)
Robbins, Kelly, Patterson & Tucker, LPA                PRYOR CASHMAN LLP
312 Elm Street, Suite 2200                             7 Times Square
Cincinnati, Ohio 45202                                 New York, New York 10036
T: (513) 721-3330 | F: (513) 721-5001                  (212) 421-4100
jmohler@rkpt.com                                       pcossu@pryorcashman.com
zschaengold@rkpt.com                                   rkaplowitz@pryorcashman.com

Attorneys for Defendants                               Attorneys for Defendants



{05445686-1 }                                     1
Case: 2:23-cv-02896-SDM-CMV Doc #: 48 Filed: 01/13/25 Page: 2 of 2 PAGEID #: 690




                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of the foregoing has been electronically filed

this 13th day of January, 2025. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this

filing through the Court’s CM/ECF system.


                                                                 /s/ Zachary C. Schaengold
                                                                 Zachary C. Schaengold




{05445686-1 }                                        2
